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                         MILHOUSE NEAL, LLP
                         CERTIFIED PUBLIC ACCOUNTANTS AND CONSULTANTS




                                                                                 ij'(~VELDON PARKWAY
                                                                        MARYLAND HEIGHTS, MO 63043
                                                                         Ill 314.995.6900 II 314.995.6903
                                                                                     l\1 www.mn-cpa.com




  April 24, 2015



  The Honorable Jean C. Hamilton
  U.S. District Court for the Eastern District of Missouri
  Thomas F. Eagleton U.S. Courthouse
  111 South 1oth Street
  St. Louis, MO 63102

         Case: 4: 11-CV-00373-JCH
         Request for Fees and Expenses of Receiver


  Dear Judge Hamilton:

  We are the appointed receiver of the assets of Ronald W. Moore and RWM
  Properties II, LLC in the above-named case.

  Enclosed is an itemized request for payment of our fees and expenses for the
  receivership services provided from October 16, 2014 thru April 15, 2015.


  Respectfully,

  MILHOUSE & NEAL, LLP

  r)v{aJ. 0. )JJ_
  By: Mark 0. Neal, CPA
  Partner
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                          MILHOUSE NEAL, LLP
                          CERTIFIED
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                                      PUBLIC ACCOUNTANTS AND CONSULTANTS




                                                                                               ij'~LDON PARKWAY
                                                                               MARYLAND HEIGHTS, MO 63043
                                           INVOICE                                 Ill 314.995.6900 II 314.995.6903
                                                                                                      a     www.mn-cpa.com



Ronald W. Moore Receivership
c/o Milhouse & Neal, LLP
40 Weldon Parkway
Maryland Heights, MO 63043

Invoice No. 125695
Date        04/23/2015
Client No.  1518



Request for funding for receivership services rendered
and costs expended in the BancorpSouth Bank v. RWM
Properties 11, LLC and Ronald W. Moore matter pursuant
to order of the United States District Court of the Eastern
District of Missouri.


                                                  Total Invoice Amount:    $====2=-
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Billing Worksheet
For the Period Ended: 04/15/2015
Primary Partner: Neal, Mark (MON)



                                                Name          Date         Memo                                                               Rate    Hours Amount
CONS        561 Telephone Calls                 Neal.Mark     11/04/2014   telecon wt Angela Odium @AT                                         195.00   0.20    39.00
CONS        541 Litigation Support              Neal, Mark    12/02/2014   BMO Harris Claim                                                    195.00   0.20    39.00
CONS        541 Litigation Support              Neal, Mark    12/17/2014   telecon w/ David Asmus                                              195.00   0 50    97.50
CONS        564 Correspondence                  Tasic,Elme    01/12/2015   90 day letter                                                       19500    1.00   195.00
CONS        501 General Consulting Services     Tasic,Elme    01/13/2015   Organize financial info, reconcile bank account to excel            195.00   2.00   390.00
CONS        491 Clerical-Corresp./Gen Support   Thies, Heat   01/13/2015   Letter to judge & copies to 3 attorneys                             195.00   0.20    3900
CONS        541 Litigation Support              Neal.Mark     02/20/2015   info for Tracy Brown                                                195.00   0.30    58.50
CONS        501 General Consulting Services     Tasic,Elme    02/20/2015   Look up Bank account info and email to Mark                         195.00   0.50    97.50
CONS        541 Litigation Support              Neal.Mark     02/21/2015   Send banking info to Tracy Brown                                    195.00   0.40    7800
CONS        563 Conference - Interoffice        Brandt, Deb   03/02/2015   w/ Mark re: bankruptcy trustee's findings, request for a meeting    195.00   0.20    3900
CONS        541 Litigation Support              Neal, Mark    03/02/2015   discussion w/ ET & DB                                               195.00   0.50    97.50
CONS        541 Litigation Support              Neal.Mark     03/02/2015   telecon w/ Chap. 7 BK trustee atty.                                 195.00   0.60   117.00
CONS        464 Correspondence                  Neal.Mark     03/04/2015                                                                       195.00   0.10    19 50
CONS        561 Telephone Calls                 Neal.Mark     03/10/2015   Robb Eggmann                                                        195.00   0.10    19.50
CONS        563 Conference - Interoffice        Brandt, Deb   03/10/2015   Discussions w/ Mark and Elmedina prior to conference call           195.00   0.40    78.00
CONS        561 Telephone Calls                 Brandt, Deb   03/10/2015   Conference call w/ bankruptcy trustee, bankruptcy attorney          195.00   0.90   175.50
CONS        561 Telephone Calls                 Neal.Mark     03/10/2015   Chap. 7 BK Trustee                                                  195.00   1.00   195.00
CONS        501 General Consulting Services     Tasic,Elrne   03/10/2015   Conference call and prep for it                                     195 00   2.20   429.00
CONS        541 Litigation Support              Neal.Mark     03/3112015   corresp. w/Eggmann                                                  195.00   0.40    78.00
CONS        541 Litigation Support              Neal.Mark     04/10/2015   report to Court                                                     195.00   0.30    58.50
CONS        501 General Consulting Services     Tasic,Elme    04/10/2015   Letter to court and accounting                                      19500    1.40   273.00
CONS        491 Clerical-Corresp./Gen Support   Koeller,Je    04/13/2015   90Day ltr                                                           195.00   0.10    19.50
                                                                           Subtotal                                                                    13.50 2,632.50

FIRM        950 Postage                         Koeller,Je    10/26/2014                                                                                0.00       1.19
FIRM        950 Postage                         Koeller,Je    01/11/2015                                                                                0.00       1.92
FIRM        950 Postage                         Koeller,Je    04/12/2015                                                                                0.00       2.37
                                                                           Subtotal                                                                                5.48
                                                                           Total - Ronald W. Moore Receivership                                        13.50   2,637.98
